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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION


FEDERAL TRADE COMMISSION,

                         Plaintiff,
                                                 Case No. 3:19-cv-02281-K
      vs.

MATCH GROUP, INC., a corporation,

                         Defendant.


      MATCH GROUP, INC.’S MOTION TO DISMISS AND BRIEF IN SUPPORT
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         Pursuant to Federal Rule of Civil Procedure 12(b)(6),1 Defendant Match Group, Inc.

(“Match”) moves this Court to dismiss Plaintiff the Federal Trade Commission’s (“FTC”)

Complaint.2

                                   I.        SUMMARY OF ARGUMENT

         This case is a classic example of government overreach. The FTC has impermissibly

bypassed its statutorily prescribed administrative processes by suing Match Group, Inc. in federal

court under Section 13(b) of the Federal Trade Commission Act (the “FTCA”) and seeking

injunctive and monetary relief based on permanently discontinued conduct. The text and

structure of the FTCA demonstrate, and recent cases confirm, that the FTC cannot venture

beyond the confines of its mandate from Congress, and its failure to respect those limits requires

dismissal under Rule 12(b)(6).

         Even if the Court were to ignore these limitations on the FTC’s authority and reach the

Complaint’s specific allegations, it would conclude that the FTC has also overreached on the

merits. The crux of the FTC’s Complaint is three-fold: (i) Match’s industry-leading anti-fraud

tools, systems, and strategies (described in the Complaint itself) are not good enough, even



1
  Match has filed an Appendix in Support of its Motion to Dismiss and Brief in Support (“Appendix”). The exhibits
to the Appendix are referenced as (“Def. App. Ex.”) and references to specific pages in the Appendix are referenced
as (“App.”).
2
  The FTC did not sue the correct legal entity, insisting incorrectly that it can sue a parent company for the acts of its
subsidiary. The FTC complains about certain actions of the Match.com service, but Match Group, LLC (not Match
Group, Inc.) is the entity that owns and operates Match.com, as the FTC has been repeatedly advised. (See Def.
App. Ex. 1 (Declaration of Angela C. Zambrano, hereinafter, “Zambrano Decl.”) at App. 001–002, 029–030.)
Defendant Match Group, Inc. is the parent company of Match Group, LLC, and none of the activities challenged in
the Complaint were performed by Match Group, Inc. (See Def. App. Ex. 2 (Declaration of Laurie Braddock) at
App. 031–032.) For this reason alone, the Complaint as against Match Group, Inc. should be dismissed. See, e.g.,
Warter v. Boston Sec., S.A., No. 03-81026-CIV/RYSKAMP, 2004 WL 691787, at *13 (S.D. Fla. Mar. 22, 2004)
(dismissing claim alleging wrongdoing by bank where plaintiff incorrectly sued holding company because “[t]he
holding company and the bank are not one and the same, and the holding company does not conduct any banking
activities”); Romanello v. Bank United, Inc., No. 5:12-CV-371-FL, 2013 WL 6531082, at *4 (E.D.N.C. Dec. 12,
2013) (dismissing complaint under Rule 12(b)(6) where publicly-available documents demonstrated that “plaintiffs
have named the wrong corporate entity in this suit”). After the Complaint was filed, Match alerted the FTC to this
problem, but the FTC refuses to remedy this fatal defect. (See Def. App. Ex. 1 (Zambrano Decl.) at App. 001–002,
029–030.)
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though there is no legal requirement that Match implement any such tools to begin with;

(ii) Match’s customers are not responsible for reading Match’s online disclosures to those users;

and (iii) Match’s online method for cancelling a subscription could be simpler (while ignoring

entirely Match’s other available cancellation methods—including telephone, email, chat, fax, and

U.S. mail).

       Each of the five Counts fail as a matter of law and should be dismissed for the reasons

described below:

       First, the FTC cannot sue in federal court under Section 13(b) of the FTCA absent

plausible factual allegations that the defendant is “violating” or is “about to violate” the FTCA.

15 U.S.C. § 53(b). The Complaint acknowledges that Match’s conduct at issue in Counts I–IV

was discontinued and affirmatively pleads the dates on which the conduct ceased. (See, e.g.,

Compl. ¶¶ 3, 19–20, 38.) This admission is critical and should result in dismissal. Having

admitted that Match’s alleged unlawful conduct has ceased, the FTC cannot obtain relief for past

violations in federal court under Section 13(b) unless the Complaint alleges specific facts

demonstrating that Match “is about to violate” the FTCA by imminently resuming the challenged

practices. Here, the Complaint alleges nothing of the sort, relying instead upon a single

paragraph alleging in conclusory fashion that Match has a “long history of continuous conduct”

and the purported “ease with which” Match “can” resume it. (Id. ¶ 64.) “Can” resume does not

equal “is about to” resume, and the FTC has no good-faith “reason to believe” that Match “is

about to” resume the conduct, as required by Section 13(b). Therefore, based on the

unambiguous language of the statute, Counts I–IV should be dismissed.

       FTC v. Shire ViroPharma, Inc., 917 F.3d 147, 158 (3d Cir. 2019), is directly on point. In

that recent case, the Third Circuit rejected “the FTC’s invitation to stretch Section 13(b) beyond


                                                 2
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its clear text” and held that “‘is about to violate’ means something more than a past violation and

a likelihood of recurrence.” Id. at 150. The Third Circuit explained: “Simply put, Section 13(b)

does not permit the FTC to bring a claim based on long-past conduct without some evidence that

the defendant ‘is’ committing or ‘is about to’ commit another violation.” Id. at 156. Here, the

FTC’s transparent attempt to plead around Shire with a single conclusory paragraph devoid of

any factual basis should be rejected.

         Second, even if the FTC could sue to enjoin Match from engaging in conduct that has

been permanently discontinued (which it cannot), equitable monetary relief, including restitution,

is not available under Section 13(b) of the FTCA. That provision expressly authorizes only

injunctive relief.3 Thus, the FTC’s prayer for monetary relief on Counts I-IV should be

dismissed as a matter of law. The Seventh Circuit extensively analyzed this issue in its recent

decision in FTC v. Credit Bureau Center, 937 F.3d 764 (7th Cir. 2019). The Credit Bureau court

rejected the FTC’s position that it may seek and obtain restitution for past conduct in a Section

13(b) lawsuit, holding that “nothing in the text or structure of the FTCA supports an implied

right to restitution in Section 13(b), which by its terms authorizes only injunctions.” Id. at 775.

         The Credit Bureau court’s holding was based on a detailed analysis of the FTCA and

precedent, including binding precedent from the Supreme Court. Congress provided the FTC

with a clear and explicit means for seeking monetary relief—an administrative proceeding under

Section 5(b) of the FTCA,4 followed by a federal lawsuit under Section 19.5 That statutory

mechanism contains critical safeguards and limitations placed by Congress on the FTC,




3
  This argument applies to all forms of equitable monetary relief, “including but not limited to, rescission or
reformation of contracts, restitution, the refund of monies paid, and the disgorgement of ill-gotten monies.” (See
Compl. ¶ 90(c).)
4
  15 U.S.C. § 45(b).
5
  15 U.S.C. § 57b.
                                                          3
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including strict notice requirements, a higher burden of proof, and a three-year statute of

limitations. By suing first under Section 13(b), the FTC impermissibly seeks to circumvent those

safeguards. But, as the Seventh Circuit explained, the Supreme Court requires that where

Congress includes particular language (in this case, restitution or “relief as the court finds

necessary to redress injury to consumers”) in one section of a statute (Section 19(b)), but omits it

in another section of the same statute (Section 13(b)), it is presumed that Congress is

intentionally drawing a distinction between the two provisions. Credit Bureau, 937 F.3d at 774

(citing Nken v. Holder, 556 U.S. 418, 430 (2009)). If the FTC wished to seek restitution or other

monetary relief for the conduct at issue in this case, it was free to do so, by pursuing relief in an

administrative hearing pursuant to Section 5(b) of the FTCA and then seeking consumer redress

in federal court under Section 19. Seeking restitution without first pursuing the mandated

administrative avenue under Section 5(b) might be more convenient for the FTC, but the plain

language of the FTCA does not allow such a maneuver.

       Third, even if the FTC’s claims were properly in federal court, which they are not,

Counts I and II are barred by the Communications Decency Act, 47 U.S.C. §230 (the “CDA”).

In the CDA, Congress conferred “broad immunity” upon “[w]eb-based service providers” (like

Match) against attempts to hold them liable for publishing content created by third parties, such

as the users of their websites. Doe v. Myspace, Inc., 528 F.3d 413, 418 (5th Cir. 2008). Count I

alleges that Match deceived users by sending them automatic notifications, without adequate

disclaimers, about third-party communications, but the CDA, as confirmed by numerous recent

cases, forecloses liability based upon such a theory. Similarly, Count II alleges that Match

engaged in unfair practices by allowing the delivery of potentially fraudulent communications




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from third parties to some users while withholding them from others, but the CDA likewise

immunizes this conduct as well.

        Finally, Count V of the Complaint fails to state a claim under the Restore Online

Shoppers’ Confidence Act (“ROSCA”). This claim alleges that one of Match’s multiple

subscription cancellation methods—its online cancellation process—is not “simple” while

ignoring the other methods of cancellation. (Compl. ¶ 84.) ROSCA’s unambiguous text requires

only that Internet sellers “provide[] simple mechanisms for a consumer to stop recurring

charges.” 15 U.S.C. § 8403(3). It does not require that every available method of cancellation6

be simple, and it does not even require that an online method of cancellation be provided.

Because the FTC fails to plead that the other cancellation methods available to subscribers—

including email, online chat, telephone, fax, and U.S. mail—are also not “simple,” the FTC fails

to plausibly plead a violation of ROSCA. In short, the FTC cannot re-write ROSCA to create a

violation based on an allegation that only one of multiple cancellation mechanisms is not

“simple.”

            II.      RELEVANT PROCEDURAL HISTORY AND ALLEGATIONS

        Match.com was the first and is the longest-operating online dating platform. Match’s

business is built on the ability of its customers to find someone special—a mission that has

succeeded by helping to foster millions of relationships, marriages, and families over its 25-year

history. Today, in part because of Match’s pioneering efforts, more than one out of every three

marriages start online. The great popularity of online dating platforms also presents challenges

for responsible companies like Match. To enhance the experience of its legitimate users, Match


6
 The Complaint refers to cancellation “practices” (plural) (Compl. ¶ 54), yet addresses only the online method as
allegedly violating ROSCA. Because the Complaint expressly refers to Match’s cancellation “practices,” this Court
may consider the existence of multiple other cancellation mechanisms that are a matter of public record for purposes
of deciding this Rule 12(b)(6) motion. See Gines v. D.R. Horton, Inc., 699 F.3d 812, 820 & n.9 (5th Cir. 2012).
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expends extraordinary time and resources to keep spammers, bots, scammers, and others who

seek to use the service for improper purposes off its platform and to remove questionable

accounts from the platform promptly upon detection.

        The FTC’s Complaint contorts Match’s fraud-prevention efforts to focus on a few ways

in which it thinks it can run Match better than Match itself. The FTC’s predominant criticism is

that Match did not root out all the bad acts of third parties on its platform in the manner the FTC

believes, in hindsight, it should have done. The practical, and predictable, effect of this kind of

governmental overreach is to discourage companies from undertaking any screening or blocking

measures at all, out of fear that the FTC will later look back (as here) and declare that those

measures should have been implemented differently.

        A.       The FTC’s Current Complaint.

        After a lengthy investigation, on August 7, 2019, the FTC voted to approve a different

version of the Complaint than the one that was filed in this Court. After the vote, the FTC

referred the case to the United States Department of Justice (“DOJ”) for consideration pursuant

to 15 U.S.C. §56(a), as required, because the FTC sought civil penalties for an alleged violation

of ROSCA. The version of the Complaint voted on by the Commission and referred to the DOJ

contained false allegations that the conduct at issue in Counts I–IV was then “continuing.”7 The

DOJ declined the case within the statutory 45-day consideration period. Thereafter, by operation

of law, the FTC re-assumed control of the case.

        Without further public vote by the Commissioners, and perhaps to avoid Rule 11

consequences, the FTC modified the Complaint that was voted out on August 7 by eliminating

the false allegation that Match’s conduct at issue in Counts I–IV was continuing. While those


7
 (See Def. App. Ex. 1 (Zambrano Decl.) at App. 001–002, 003–028 (attaching public record Complaint as approved
by the FTC).)
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false allegations were removed from the filed version, in a transparent attempt to avoid dismissal

based on Section 13(b)’s requirement that the defendant be “about to violate” the FTCA, the

Complaint retains a single conclusory Paragraph 64, in which the FTC alleges (i) that Match has

a “long history” of continuous conduct as charged in the Complaint, (ii) that Match can easily

resume similar conduct, and, (iii) without any evidence or factual allegations, that the FTC has

“reason to believe” that Match “is about to violate laws enforced by the Commission.” (Compl.

¶ 64.) This bald allegation is entitled to no weight under the established federal pleading

standards discussed below.

         B.       The Complaint Specifically Pleads That the Conduct at Issue in Counts I–IV
                  Has Ceased.

         In Counts I–IV, the Complaint describes four categories of allegedly either deceptive or

unfair conduct under Section 5 of the FTCA and pleads the approximate dates by which the

practices were terminated:

         Count I alleges that Match engaged in a deceptive practice by sending non-paying

registered users automated notifications (so-called “pay to read” or “PTR” communications)

when paying subscribers had expressed interest in them and offering them a subscription to

enable them to see the underlying communication8 without adequately notifying the registered

users that some of those subscriber accounts were then under review by Match for potential

violations of Match’s terms of use.9 But the Complaint admits that this practice was




8
  Non-subscribers (also known as registered users) cannot read any messages sent to them.
9
  For purposes of this Rule 12 motion, this Court must accept only plausibly pleaded allegations as true. Sonnier v.
State Farm Mutual Auto. Ins. Co., 509 F.3d 673, 675 (5th Cir. 2007). Match vigorously disputes that any of the
conduct described in the Complaint was deceptive or unfair. Indeed, the FTC has it exactly backwards in this case.
Match’s efforts to combat improper use of its platform, including removing the small subset of users identified in its
review who are would-be scammers, have set the industry standard. The Complaint suggests all users in reviewed
by Match are scammers, but nothing could be further from the truth. A significant portion of those entering review
are later cleared, and the majority are being reviewed for being spammers or bots, not fraud.
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discontinued by mid-2018 (Compl. ¶ 3) when Match stopped sending PTRs to registered users

based on messages sent by subscriber accounts flagged for review.

        Count II alleges that Match acted unfairly and caused consumer harm by exposing

consumers to the risk of fraud in providing recent subscribers access to communications that had

been flagged for review. The practice was discontinued by mid-2018, when Match stopped

delivering to any users communications from subscriber accounts that were flagged for review.

(Id.)

        Count III alleges that Match deceptively induced customers into purchasing

subscriptions by offering a “guarantee” to prospective six-month subscribers, but failed to

adequately disclose the terms and conditions of the guarantee, including that the subscriber

create a profile with a photo and communicate with other users, as well as “claim” the guarantee

within the last seven days of the subscription period (id. ¶¶ 74–76), even though the FTC

concedes that all the allegedly non-disclosed information appears in multiple places on Match’s

site. (See id. ¶¶ 41–42, 44–45, 47.) Match stopped offering a guarantee altogether in mid-

2019. (Id. ¶¶ 3, 38.)

        Count IV alleges that Match acted unfairly by denying subscribers access to paid-for

services if the consumer disputed credit-card charges and lost the dispute. The FTC ignores that

the policy was fully disclosed on Match’s site. In any event, the practice was discontinued by

mid-2019. (Id. ¶ 3.)10

        In Count V, the FTC complains about Match’s online cancellation method. While Match

has not changed any of the multiple ways that consumers can cancel subscriptions, this Count is

defective as a matter of law. The Complaint in effect alleges that because one of Match’s


10
  Although the issue is beyond the scope of this Motion, the FTC also ignores that Match honored any request by
such users to regain access to the site after losing a chargeback dispute.
                                                        8
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cancellation methods is purportedly not “simple,” Match has violated ROSCA. (Id. ¶¶ 55–59.)

As set forth below, the FTC misreads ROSCA, which contains no requirement that every

cancellation method qualify as “simple” under the statute.

                         III.    ARGUMENTS AND AUTHORITIES

       To survive a motion to dismiss under Rule 12(b)(6), a plaintiff must plead “enough facts

to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,

570 (2007). “A claim has facial plausibility when the plaintiff pleads factual content that allows

the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). While well-pleaded facts of a complaint

are to be accepted as true, legal conclusions are not “entitled to the assumption of truth.” Iqbal,

556 U.S. at 679 (citation omitted). Further, a court should not strain to make inferences

favorable to the plaintiff and should not accept conclusory allegations, unwarranted deductions,

or mere legal conclusions. R2 Invs. LDC v. Phillips, 401 F.3d 638, 642 (5th Cir. 2005) (citations

omitted).

       A.      The FTC Lacks Statutory Authority to Sue Based on Past Conduct Absent
               Any Plausible Factual Allegations That the Challenged Conduct Is “About
               To” Resume.

       The FTC’s power is limited to the statutory authority delegated to it by Congress. Texas

v. United States, 497 F.3d 491, 500–01 (5th Cir. 2007) (“The authority of administrative

agencies is constrained by the language of the statute they administer.”); see Arrow-Hart &

Hegeman Elec. Co. v. FTC, 291 U.S. 587, 598 (1934) (“The [FTC] is an administrative body

possessing only such powers as are granted by statute.”). The FTC has brought four counts

against Match pursuant to Section 13(b) of the FTCA (Counts I–IV). Section 13(b), however,

grants the FTC authority to file suit in federal court only when the defendant “is violating, or is

about to violate” the law. 15 U.S.C. § 53(b). In other words, the FTC must plead facts plausibly
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establishing that the defendant (a) is currently violating the law or (b) is “about to” violate the

law. Id.

        Here, as detailed above, the Complaint unambiguously pleads that Match is not currently

violating the law and even affirmatively pleads that the accused conduct ceased well before the

Complaint was filed. (See, e.g., Compl. ¶ 3 (admitting discontinuance of challenged practices).)

And the sole basis for the allegation that Match is “about to violate” the law as applicable to

Counts I–IV is a single conclusory paragraph that includes no factual support. Thus, Counts I–

IV fail to state a claim.

                1.      The FTC’s Section 13(b) Authority Is Expressly Limited to Suing a
                        Defendant That “Is Violating” or “Is About to” Violate the Law.

        In construing Section 13(b), the Court need only to look to its unambiguous text. See In

re Settoon Towing, L.L.C., 859 F.3d 340, 345 (5th Cir. 2017) (“If the statute’s language is

unambiguous, we apply the plain language absent some resulting absurdity.”); Asadi v. G.E.

Energy (USA), L.L.C., 720 F.3d 620, 622 (5th Cir. 2013) (“If the statutory text is unambiguous,

our inquiry begins and ends with the text.”). Section 13(b) states in relevant part:

        Whenever the Commission has reason to believe . . . that any person, partnership,
        or corporation is violating, or is about to violate, any provision of law enforced
        by the [FTC] . . . the Commission . . . may bring suit in a district court of the
        United States to enjoin any such act or practice.

§ 53(b) (emphasis added). Where, as here, Congress has used the present and future tense, the

statute must be construed as reaching only those acts that are ongoing or will occur in the future,

and not acts that occurred in the past. See, e.g., TDX Energy, L.L.C. v. Chesapeake Operating,

Inc., 857 F.3d 253, 266 (5th Cir. 2017) (explaining “use of the present and future tenses shows

legislative intent that the provision did not apply to [past conduct]”).

        Section 13(b) imposes a clear outer limit on the FTC’s ability to bring suit in federal

court under that provision: to do so, the FTC must allege in good faith and with good reason that
                                               10
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the defendant “is violating, or is about to violate” the law. Conversely, the FTC lacks the power

under Section 13(b) to bring suit in federal court for past conduct. This limitation goes hand-in-

hand with Section 5(b) of the FTCA, which allows the FTC to bring an administrative

proceeding to address past conduct. See 15 U.S.C. § 45(b). The courts as well have concluded

that Section 13(b) is unambiguous and requires the FTC to plausibly plead current or impending

violations of law.

       In an extensive and well-reasoned opinion, the Third Circuit in Shire analyzed this very

issue and concluded that Section 13(b) only “empowers the FTC to speedily address ongoing or

impending illegal conduct”:

       Section 13(b) requires that the FTC have reason to believe a wrongdoer “is
       violating” or “is about to violate” the law. Id. § 53(b)(1). We conclude that this
       language is unambiguous; it prohibits existing or impending conduct. Simply put,
       Section 13(b) does not permit the FTC to bring a claim based on long-past
       conduct without some evidence that the defendant “is” committing or “is
       about to” commit another violation.

Shire, 917 F.3d at 156 (emphasis added).

       The Northern District of Georgia also analyzed the same statute under analogous

circumstances and agreed that the text of Section 13(b) is unambiguous and requires pleading

specific facts establishing ongoing violations or that the defendant is “about to” violate the law.

FTC v. Hornbeam Special Situations, LLC, No. 1:17-CV-3094-TCB, 2018 WL 6254580, at *2

(N.D. Ga. Oct. 15, 2018). A rote, formulaic statement that the FTC had “reason to believe” that

a defendant was “about to” violate the law was insufficient; rather, the “FTC must make factual

averments regarding its reason to believe.” Id. at *4. Like the Third Circuit, the Hornbeam

court recognized that without such pleading, a complaint could not survive a challenge under

Rule 12(b)(6). Id. at *3–4. Accordingly, to survive a motion to dismiss, the FTC was required



                                                 11
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to plead specific facts showing current violations or those “about to” occur. The FTC has not

done so here.11

                  2.       The FTC Has Not—And Cannot—Plead Anything Beyond Mere
                           Speculation That Match Is About to Violate the Law

         The FTC attempts to plead around the statutory limitation and the confirming case law

with a single, conclusory paragraph. In that Paragraph 64, the FTC alleges: (a) Match has a

“long history of continuous conduct;” (b) the persistence of the challenged practices after the

FTC began its investigation (though each ended well before the investigation concluded); (c) a

self-contradictory allegation of “continued use” of those practices (which appears to be an un-cut

hold-over from a prior draft of the Complaint); and (d) the “ease with which [Match] can engage

in or resume similar conduct.” The FTC thereupon alleges that it “has reason to believe that

[Match] is violating or about to violate laws enforced by the Commission.” Id. There are two

fatal problems with this conclusory allegation.

         First, coupling allegations regarding past conduct with a bare assertion that it “could be”

resumed with “ease” does not satisfy the requirement of a plausible factual allegation that the

defendant is “about to” violate the law. This is not the first time the FTC has argued for this

false equivalency: the agency tried and failed to convince both the Third Circuit in Shire and the

Northern District of Georgia in Hornbeam to conflate the plain language of the limitations on its

Section 13(b) authority with the “likelihood of recurrence” standard for issuance of a preliminary

injunction. The Third Circuit “reject[ed] the FTC’s invitation to stretch Section 13(b)


11
  While the Court need not consider it given the unambiguous terms of the statute, the legislative history of Section
13(b) squarely reinforces the plain meaning of the statute. See United States v. Kaluza, 780 F.3d 647, 658 (5th Cir.
2015). Before Section 13(b) was enacted in 1973, the FTC lacked the authority to bring a civil action of any kind in
federal court; its only procedural avenue was an administrative proceeding under Section 5. See United States v. JS
& A Group, Inc., 716 F.2d 451, 452 (7th Cir. 1983). In 1973, Congress enacted Section 13(b) to address this issue;
as explained in the accompanying Senate report, “[t]he purpose of [Section 13(b)] is to permit the Commission to
bring an immediate halt to unfair or deceptive acts or practices . . . until agency action is completed.” S. Rep.
No. 93-151, at 30-31 (1973) (emphasis added).
                                                         12
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beyond its clear text” through adoption of a standard satisfied by “a past violation and a

reasonable likelihood of recurrent future conduct.” Shire, 917 F.3d at 150 (emphasis added).

The FTC’s allegation of a past violation and its claim that the defendant was “perfectly

positioned” to violate in the future—what the Complaint in effect asserts here about Match—

were insufficient to meet the statutory requirement. Id. at 160. The Northern District of Georgia

agreed with the district court in the Shire case and held that Section 13(b)’s text “should not be

conflated” with the preliminary injunction standard. Hornbeam, 2018 WL 6254580, at *4.

Unlike the preliminary injunction standard, Section 13(b) authority “require[s] more than a mere

likelihood of resuming the offending conduct”; rather, the facts alleged must show that the

“defendant is about to violate the law.” Hornbeam, 2018 WL 6254580, at *6.

       Second, the Complaint does not make a single factual allegation that would plausibly

suggest that Match is “about to” resume any of the challenged conduct (which it is not)—and

conversely contains several explicit admissions that the challenged practices were voluntarily

discontinued, some well over a year ago. (See Compl. ¶¶ 3, 19–20, 34.) A complaint cannot

survive a motion to dismiss through mere “labels and conclusions, and a formulaic recitation of

the elements of a cause of action will not do.” Twombly, 550 U.S. at 555. The FTC’s counter-

factual and conclusory assertion that it has “reason to believe” that the challenged conduct is

“about to” resume is not entitled to any weight or credence under Twombly, and prior claims by

the FTC that its bare-bones form pleading is entitled to some sort of administrative “deference”

were both squarely rejected. See Shire, 917 F.3d 147, 159 n.17 (describing FTC’s argument that

it has “unreviewable discretion” over “reason to believe” standard as “unpersuasive”);

Hornbeam, 2018 WL 6254580, at *2–3 (rejecting FTC’s argument that its “reason to believe”




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assertion was entitled to any deference).12 Simply put, the FTC has failed to allege plausible

facts indicating that Match is about to violate the law. Accordingly, the FTC has no authority to

bring Counts I–IV in federal court under Section 13(b).

         B.       There Is No Statutory Authority for the Equitable Monetary Relief the FTC
                  Seeks Under Section 13(b).

         The Complaint is independently defective for similar reasons insofar as it seeks equitable

monetary relief under Section 13(b), and the FTC’s request for such relief should be dismissed or

stricken.13 (Compl. ¶¶ 87, 89.) Like the FTC’s lack of authority to bring suit based upon past

conduct that is not about to recur, this is again a pure question of law, with the FTC seeking to

push past the outer bounds of the authority that Congress granted under the FTCA.

         Section 13(b) of the FTCA only authorizes the FTC to seek injunctive relief. It contains

no language authorizing the recovery of any other form of equitable relief, including restitution

or other monetary relief. Section 19 of the FTCA, on the other hand, expressly allows the FTC

to seek such consumer redress by following a two-step process for the conduct challenged as

violating Section 5 of the FTCA: First, the FTC must prevail in an administrative proceeding;

second, it must file a district court action and demonstrate that “a reasonable man would have

known under the circumstances [that the conduct in question] was dishonest or fraudulent.” 15

U.S.C. § 57b(a)(2). However, despite this clearly delineated legislative scheme, the FTC has

been able to persuade some courts (although not the Fifth Circuit, as explained below) that it also

may seek monetary relief as an implied remedy under Section 13(b), and thereby skip the



12
   While the FTC might argue that Shire is inapposite because Match discontinued the challenged practices after the
FTC commenced its investigation, there is no statutory support for this argument, and the Shire court rejected it as
well. See 15 U.S.C. § 53(b); Shire, 917 F.3d at 160.
13
   The Court has ample authority to dismiss improper claims for relief under Rule 12(b)(6). See
Brown v. Aetna Life Ins. Co., No. EP-13-CV-131-KC, 2013 WL 3442042, at *4 (W.D. Tex. July 8, 2013)
(dismissing demand for punitive damages under Rule 12(b)(6)); McDade v. Smurfit-Stone, Inc., No.
CIV.A.3:05CV1478-B, 2006 WL 435315, at *3 (N.D. Tex. Feb. 23, 2006).
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administrative proceeding and avoid the heightened evidentiary standards imposed by Section

19. This is precisely what the FTC has attempted here.

        Two months ago, the Seventh Circuit extensively analyzed this very issue and held in

FTC v. Credit Bureau Center, LLC that Supreme Court precedent prohibits judicial implication

of a restitutionary remedy under Section 13(b). 937 F.3d at 767 (“Stare decisis cannot justify

adherence to an approach that Supreme Court precedent forecloses.”). The Seventh Circuit first

reviewed the distinction Congress drew in the FTCA between Section 13(b) (authorizing

injunctions) and Section 19 (authorizing consumer redress). Id. at 771–73. The court then

analyzed whether a provision authorizing only injunctions could be construed as also authorizing

restitution. The court “start[ed] with the obvious: Restitution isn’t an injunction.” Id. at 771.

Because the text of Section 13(b) does not set forth an explicit, or even suggest an implicit,

restitutionary remedy, the FTC would have to show that Congress nonetheless intended to imply

one. Modern Supreme Court jurisprudence, however, counsels against implied remedies under a

“statute that expressly enumerate[s] the remedies available to plaintiffs,” and “[i]t is . . . an

elemental canon of statutory construction that where a statute expressly provides a remedy,

courts must be especially reluctant to provide additional remedies.” Id. at 780 (quoting Franklin

v. Gwinnett Cty. Pub. Sch., 503 U.S. 60, 69 n.6 (1992), and Karahalios v. Nat’l Fed’n of Fed.

Emps., 489 U.S. 527 (1989)).

        Applying these principles to the FTCA, the Seventh Circuit concluded that Section 13(b)

does not contain an implied restitutionary remedy. The FTCA’s structure—which affords the

FTC multiple other avenues to seek and obtain restitution, with distinct statutory and

administrative requirements—demonstrates that “[r]eading an implied restitution remedy into

section 13(b) makes the other provisions largely pointless.” Id. at 774. Conversely, the


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“tensions we’ve just discussed dissipate if we read section 13(b) to mean what it says: The

remedy is limited to injunctive relief.” Id. (emphasis added).

        The only Fifth Circuit case to address the availability of implied remedies under Section

13(b), FTC v. Southwest Sunsites, Inc., strongly supports this textual interpretation of the FTCA.

665 F.2d 711, 714 (5th Cir 1982). In Southwest Sunsites, the Fifth Circuit affirmed the district

court’s authority to freeze disputed assets pending the outcome of an administrative proceeding

under Section 5 of the FTCA and potential district court proceeding for consumer redress. Id. at

715–16. The court reasoned that the power to freeze assets was necessary to preserve the

prospect of a “complete resolution” of the matter, which would involve a “two-step process” of

an administrative proceeding followed by a Section 19 court proceeding. Id. at 719. It was

precisely because the availability of consumer redress would be the subject of a “subsequent

determination in another forum of the rights of parties in the property” that the status quo

needed to be preserved. Id. (emphasis added). Indeed, the Seventh Circuit in Credit Bureau

described the Fifth Circuit’s holding as “preclud[ing] the possibility of restitution in 13(b),

pointing instead to [Section 19] for monetary remedies.” 937 F.3d at 777 n.2 (emphasis

added).14

        This Court should adopt the Seventh Circuit’s persuasive analysis here. Congress has

granted the FTC an array of options for effective enforcement of the FTCA. There is no reason


14
   The Southwest Sunsites court noted in passing that the district court had the “full range of equitable remedies
traditionally available to it.” Id. at 718. However, this dicta no longer describes the state of the law. The two
Supreme Court cases cited for this proposition, Mitchell v. DeMario Jewelry, Inc., 361 U.S. 288 (1960), and Porter
v. Warner Holding Co., 328 U.S. 395 (1946), were decided in an era when the Supreme Court favored implied
remedies. The change in the prevailing jurisprudence is extensively detailed in Credit Bureau, which shows that
Mitchell and Porter have been effectively overruled by more recent Supreme Court implied-remedies decisions. See
Credit Bureau, 937 F.3d. at 777–82 (describing how Porter and Mitchell have been replaced by a “more limited
understanding of judicially implied remedies” and citing multiple recent Supreme Court cases declining to imply
equitable remedies). As recently stated by the Supreme Court, “the express provision of one method of enforcing a
substantive rule suggests that Congress intended to preclude others.” Armstrong v. Exceptional Child Ctr., Inc., 135
S. Ct. 1378, 1385 (2015) (collecting cases).
                                                        16
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in law or logic for this Court to grant the FTC an additional enforcement option that Congress

plainly chose to withhold, and thereby enable the FTC to avoid the statutory limitations that

Congress has placed on available remedies. These statutory limitations are not arbitrary; they are

intended to protect the defendant’s rights to fair notice and due process. Indeed, the

requirements in Section 19 that a defendant must have violated an enacted rule or a practice a

reasonable person would have known was fraudulent and that the FTC must first issue a cease-

and-desist order are meant to safeguard against unfairly imposing retrospective monetary

sanctions. See 15 U.S.C. § 57b. Thus, Match respectfully requests that this Court follow the

teachings of the Fifth Circuit in Southwest Sunsites, as well as the Seventh Circuit in Credit

Bureau, and rule that the FTC cannot seek or obtain restitution or other equitable monetary relief

in this action.

        C.        Even If the FTC Were Authorized to Sue Under Section 13(b) for
                  Discontinued Conduct, the Communications Decency Act Would Bar Suit for
                  the Conduct at Issue in Counts I and II.

        Even if the FTC possessed the requisite statutory authority to sue in federal court, the

Communications Decency Act, 47 U.S.C. § 230, confers immunity from suit on the PTR-related

claims, Counts I and II, as a matter of law.15 Counts I and II are barred because each of the

Counts seeks to hold Match liable for both (i) content created and provided solely by third parties

(i.e., users) and (ii) Match’s own voluntary screening and removal of potentially offending

content on its platform.




15
   These Counts allege that Match sends non-paying registered users notifications of communications directed to
them by other users, regardless of whether the sender of those underlying communication is under review, which
allegedly deceives consumers (Count I) and exposes them to risk of fraud (Count II).
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               1.      The CDA Bars Attempts to Hold Providers of Interactive Computer
                       Services Liable as the Publisher or Speaker of Third-Party Content.

       Section 230(c)(1) of the CDA states that “[n]o provider or user of an interactive computer

service shall be treated as the publisher or speaker of any information provided by another

information content provider.” 47 U.S.C. § 230(c)(1). A principal purpose of the CDA is to

remove the “threat that tort-based lawsuits pose to freedom of speech” online, and to “maintain

the robust nature of Internet communication and, accordingly, to keep government interference

in the medium to a minimum.” Zeran v. Am. Online, Inc., 129 F.3d 327, 330-31 (4th Cir. 1997).

The statute also incentivizes service providers to self-regulate content on their platforms without

the “specter of tort liability in an area of such prolific speech [posing] an obvious chilling

effect.” Id. at 331. Accordingly, “lawsuits seeking to hold a service provider liable for its

exercise of a publisher's traditional editorial functions—such as deciding whether to publish,

withdraw, postpone or alter content—are barred.” Id. at 330 (emphasis added). Courts

nationwide have “construed the immunity provisions in § 230 broadly in all cases arising from

the publication of user-generated content.” MySpace, Inc., 528 F.3d at 418 (citing cases); Force

v. Facebook, Inc., No. 18-397, 2019 WL 3432818, at *7 (2d Cir. July 31, 2019) (“[T]he Circuits

are in general agreement that the text of Section 230(c)(1) should be construed broadly in favor

of immunity.”). The case law has developed a three-part test for application of CDA immunity

that closely tracks the language of the statute:

       The Communications Decency Act mandates dismissal if (i) [the defendant] is a
       “provider or user of an interactive computer service,” (ii) the information for which
       [the plaintiff] seeks to hold [the defendant] liable was “information provided by
       another information content provider,” and (iii) the complaint seeks to hold [the
       defendant] liable as the “publisher or speaker” of that information.




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Marshall’s Locksmith Serv., Inc. v. Google, LLC, 925 F.3d 1263, 1268 (D.C. Cir. 2019). As

shown below, Match satisfies all three prongs of the CDA test as to both Counts I and II.16

                  2.       The CDA Also Immunizes Service Providers from Liability for Their
                           Good-Faith Efforts to Remove Objectionable Content.

Section 230(c)(2) of the CDA provides in pertinent part:

         (2) No provider or user of an interactive computer service shall be held liable on
         account of—

                  (A) any action voluntarily taken in good faith to restrict access to or
                  availability of material that the provider or user considers to be obscene,
                  lewd, lascivious, filthy, excessively violent, harassing, or otherwise
                  objectionable, whether or not such material is constitutionally protected.17

         Section 230(c)(2) “allows website operators to engage in blocking and screening of third-

party content, free from liability for such good-faith efforts.” Jane Doe No. 1 v. Backpage.com,

LLC, 817 F.3d 12, 18 (1st Cir. 2016) (emphasis added). As noted by the Seventh Circuit,

“[r]emoving the risk of civil liability may induce web hosts and other informational

intermediaries to take more care to protect the privacy and sensibilities of third parties.” Doe v.

GTE Corp., 347 F.3d 655, 659 (7th Cir. 2003). For example, in Holomaxx Technologies v.

Microsoft Corporation, Section (c)(2) applied to software designed to block or remove “spam”

emails. 783 F. Supp. 2d 1097, 1104 (N.D. Cal. 2011). Microsoft had broad discretion under the

statute to block or remove content that it considered objectionable. Id.


16
   The Act broadly defines an “interactive computer service” as “any information service, system, or access software
provider that provides or enables computer access by multiple users to a computer server.” 47 U.S.C. § 230(f)(2).
“Courts applying this definition have had no trouble concluding that social networking sites like Facebook.com, and
on-line matching services like Roommates.com and Matchmaker.com are ‘interactive computer services.’” Herrick
v. Grindr, 306 F. Supp. 3d 579, 588 (S.D.N.Y. 2018) (collecting cases and holding that dating website is classic
example of interactive computer service); see also Dyroff v. Ultimate Software Grp., Inc., 934 F.3d 1093, 1097 (9th
Cir. 2019) (noting that definition is construed “expansively” and that the “most common interactive computer
services are websites”). There is no doubt that Match is an “interactive computer service” under the CDA.
17
   Congress’s purpose in enacting this provision of the CDA was, in part, to overrule Stratton Oakmont v. Prodigy, a
New York state decision holding that an online service provider could be held liable for taking voluntary steps to
remove online content it found objectionable. 1995 WL 323710 (N.Y. Sup. Ct. May 24, 1995). Congress’s intent
was to foreclose liability in a situation where, for example, “a service provider filtered its content in an effort to
block obscene material.” Force, 2019 WL 3432818, at *6–7 (quotations and citations omitted).
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               3.      Both Provisions of the CDA Bar Count I

                       a.     Count I Is Barred by Section 230(c)(1).

                              (i)     Count I Is Based on “Information Provided by Another
                                      Information Content Provider.”

       The analysis begins with determining whether the FTC is seeking to hold Match

responsible for information provided by others, or whether Match itself is the “information

content provider.” See Marshall’s Locksmith Serv., 925 F.3d at 1268. That inquiry turns on

whether the defendant is “responsible, in whole or in part, for the creation or development” of

the offending content. 47 U.S.C. § 230(f)(3). A interactive computer service provider is entitled

to CDA immunity unless it “materially contributes to the illegality of the content itself.” Daniel

v. Armslist, LLC, 926 N.W.2d 710, 721 (Wis. 2019), pet. filed. (citing cases using “material

contribution” test). This prong of the CDA test has spawned litigation where, as here, the

plaintiff complains about the defendant’s role in communicating information that originated with

a third-party bad actor, but which was changed or affected in some way by a website’s automatic

processes.

       For example, in Marshall’s Locksmith, the plaintiffs sued Google, alleging that it flooded

the market with search results featuring “scam” locksmiths in order to increase advertising

revenue. 925 F.3d at 1269. Similar to the FTC’s claim here, the plaintiffs claimed that Google

included in search results locksmith listings it knew were inaccurate, publishing the false

locations of scam businesses that did not exist in the cities in question and had entered fake

addresses into Google’s systems. The plaintiffs alleged that Google (not the scammers) would

then create a specific map “pinpoint,” based on the fake address, which would cause a consumer

to choose the scam business instead of one their own. Id. at 1269. But, as the D.C. Circuit

reasoned when it affirmed the district court’s Rule 12(b)(6) dismissal of the plaintiffs’ complaint,

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Google’s use of automated algorithms that converted (fraudulent) third-party content into

(allegedly fraudulent) location pinpoints could not transform Google into the “information

content provider,” and thus Google was immune from suit under the CDA. Id. at 1270–71.

Because Google translated “legitimate and scam information in the same manner,” it could not

be held liable for the ultimate harm to the plaintiffs.18 Likewise, in this case, Match conveyed to

non-paying registered users expressions of interest from senders under review and from senders

not under review in the same manner, namely by sending a PTR.

         Similarly, in Daniel v. Armslist, LLC, allegations that a website operator knew its service

was being used for illegal activities and had certain features that facilitated such activity were

held insufficient to avoid CDA immunity. 926 N.W.2d at 716. These principles apply to bar suit

against Match as well: Match’s sending of a notification conveying that another user expressed

interest or sent a message did not contribute to any wrongdoing associated with the underlying

message.

         Finally, and especially relevant here is Dyroff v. Ultimate Software Grp., Inc., No. 17-

CV-05359-LB, 2017 WL 5665670, at *1 (N.D. Cal. Nov. 26, 2017), aff’d, 934 F.3d 1093 (9th

Cir. 2019), which involved a website that used proprietary algorithms to “make

recommendations” to its users based on their site activity, as well as send them notifications

whenever another user attempted to contact them. The plaintiff alleged that the defendant had

“sent users emails and other push notifications of new posts in [online] groups related to the sale

of deadly narcotics” and “steered users to ‘additional’ groups dedicated to the sale of such




18
   In holding that the CDA barred suit, the Marshall’s Locksmith court rejected the plaintiffs’ claims that the CDA
did not apply because (a) Google had notice that the content was fraudulent but failed to act; (b) Google had
augmented or altered the third-party content; or (c) Google had created original content by using its algorithms or
search engines to generate the false or fictitious addresses for the scam locksmiths. Id. at 1268-71. The similar
allegations against Match in the instant Complaint should be rejected as well.
                                                         21
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narcotics” through algorithms, and was therefore responsible for a certain user’s narcotics

overdose. Id. at *3–4. The district court dismissed the suit as barred by the CDA because, as

here, the website “did not create or use unlawful content and merely provided its neutral social-

network functionalities.” Id. at *9. The automatic push notifications could not transform the

website into an “information content provider” of offending material. Id. at *10. Merely

“facilitat[ing] communication does not create liability” even if the website functionality

“facilitates the expression of [harmful or unlawful] information.” Id. (citations omitted). In

affirming the district court’s Rule 12(b)(6) dismissal, the Ninth Circuit stated that

“recommending user groups and sending email notifications . . . are tools meant to facilitate

the communication and content of others. They are not content in and of themselves[,]” nor

did they materially contribute to the unlawfulness of the underlying content. Dyroff, 934 F.3d at

1098-99 (emphasis added).

        The Court should dismiss Count I for the same reasons. Count I does not allege that

Match “developed” fraudulent messages or that it “contributed materially” to the alleged

illegality of those messages. Nor could it. In fact, the Complaint repeatedly focuses on the

wrongfulness of the underlying messages from third parties. (See, e.g., Compl. ¶ 22

(complaining of messages from “persons seeking to perpetrate scams”).) The Complaint

alleges—at best—that Match’s automated systems uniformly sent out PTRs to non-paying

registered users regardless of whether or not the originating subscriber was flagged for review.

However, as shown above, courts have repeatedly held that claims based upon this type of

automated service provider activity are within the scope of CDA immunity and therefore subject

to dismissal under Rule 12(b)(6).19


19
  The FTC may claim that Match knew or should have known that the senders of the underlying messages were
potentially bad actors. However, as the D.C. Circuit recently held, the CDA cannot be avoided by alleging the
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                                   (ii)     Count I Impermissibly Treats Match as the “Publisher Or
                                            Speaker” of the Offending Content.

        As the First Circuit has stated, “the broad construction accorded to Section 230 as a

whole has resulted in a capacious conception of what it means to treat a website operator as the

publisher or speaker of information provided by a third party.” Jane Doe No. 1, 817 F.3d at 19.

Here, when a Match user expressed interest in another user, Match’s algorithms automatically

generated a notification of that expression of interest. (Compl. ¶¶ 21, 23-24.) Any alleged harm

is traceable to one third-party user’s expression of interest in communicating with another user. 20

In such cases, the CDA applies because the claims “implicitly require[] recourse to the

[underlying wrongful content] and the traditional function of a publisher to supervise content.”

Grindr, 306 F. Supp. 3d at 591. In Herrick v. Grindr, for example, the court ruled that the CDA

barred a failure-to-warn claim where Grindr failed to inform users that there was a risk that the

service could be misused by wrongdoers. The Court held that because the claims were

“inextricably related to Grindr’s role in editing or removing offensive content,” Grindr was

impermissibly being turned into a publisher, and that is “precisely the role for which [the CDA]

provides immunity.” Id. at 588-92. Similarly, the Fifth Circuit rejected an attempt to hold

MySpace liable for failure to implement certain safety measures, because such allegations were




provider’s purported knowledge of the likelihood of fraud by third parties. See Marshall’s Locksmith, 925 F.3d at
1269; Armslist, 926 N.W.2d at 722–23 (rejecting consideration of defendant’s knowledge as “a distinction without a
difference”).
20
   Similarly, courts have rejected attempts to plead around the CDA where the wrongdoing traces “back to the
publication of third-party content” and where the allegation is that the plaintiff was “eventually harmed because of
third party content published by Match on its website.” Beckman v. Match.com, No. 2:13-CV-97 JCM NJK, 2013
WL 2355512, at *5 (D. Nev. May 29, 2013), aff’d in part, rev’d in part sub nom. Beckman v. Match.com, LLC, 668
F. App’x 759 (9th Cir. 2016).
                                                        23
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“merely another way of claiming that MySpace was liable for publishing the communications.”

Myspace, Inc., 528 F.3d at 420.

       Dismissal is likewise warranted here. As in Grindr, the FTC’s theory is one of “indirect”

liability, seeking to impose on Match a duty to “post a warning at the outset or along with each”

message, or notification of a message, sent from a paying subscriber. 306 F. Supp. 3d at 591.

Also, as in Grindr, Count I’s theory is “no different than requiring [Match] to edit the third-party

content itself.” Id. And, as in Myspace, Count I is “merely another way of claiming that [Match]

was liable for publishing the communications.” 528 F.3d at 420. The CDA does not permit the

imposition of liability under such a theory.

                       b.      Count I Is Barred by Section 230(c)(2).

       Section 230(c)(2)(A) of the CDA “allows website operators to engage in blocking and

screening of third-party content free from liability for such good-faith efforts.” Jane Doe No. 1,

817 F.3d at 18. The Complaint alleges that Match automatically sent PTRs about “email

communications from fraud-flagged users” to non-subscribers while at the same time

withholding such notifications from subscribers until the review process was complete. (Compl.

¶ 34.) Under these circumstances, Match would be better off—indeed, could have no liability

under Count I—if it did no fraud screening at all and sent notifications to subscribers and non-

subscribers alike. See Dyroff, 934 F.3d at 1098 (immunizing push notifications). Match’s

“Good Samaritan” efforts to protect its user base by screening users and placing accounts under

review to find bad actors are the indispensable factual predicate for the FTC’s theory of liability.

Under Section (c)(2)(A), liability may not flow from such good-faith efforts.

               4.      Both Provisions of the CDA Bar Count II.

       Count II alleges that Match “exposed consumers to the risk of fraud by providing recent

subscribers access to communications that Defendant knew were likely to have been sent by
                                              24
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persons engaging in fraud.” (Compl. ¶ 71.) Specifically, the FTC alleges that this practice

caused “consumers who subscribed to Match to view these communications [to be] at risk of

falling victim to a romance scam or other form of fraud.” (Id. ¶ 37.) The FTC also alleges that

this practice was “unfair” because “Defendant delivered email communications from fraud-

flagged accounts to nonsubscribers while withholding them from subscribers until it had

completed its fraud review.” (Id. ¶ 34.)21 Regardless of the chosen characterization, Count II is

barred by the CDA.

                          a.       Count II Is Barred by Section 230(c)(1).

        As noted above, Section 230(c)(1) states that “[n]o provider or user of an interactive

computer service shall be treated as the publisher or speaker of any information provided by

another information content provider.” Yet this is exactly what Count II seeks to do: The

Complaint admits, as it must, that the fraudulent messages that users were allegedly exposed to

were created by other users—not Match. (See Compl. ¶ 37 (noting that communications in

question were “from users that were likely to be engaging in fraud”).) Thus, there is no

argument that Match was “responsible, in whole or in part, for the creation or development” of

the offending information under the second prong of the inquiry. 47 U.S.C. § 230(f)(3). And, as

discussed above, the CDA bars claims that impermissibly seek to treat the service-provider

defendant as the publisher of the offending user or other third-party content. See Grindr,

306 F. Supp. 3d at 591. The FTC’s allegation that Match “knew [the underlying

communications] were likely to have been sent by persons engaging in fraud” does not affect the

analysis, as courts have repeatedly rejected attempts avoid CDA immunity with allegations of the



21
  What the Complaint loosely describes as “fraud review” (see Compl. ¶¶ 23, 28, 34), actually refers to review that
Match conducts when users are believed to be on Match potentially for an improper purpose–which encompasses a
variety of conduct other than potential fraud (e.g., spammers, bots).
                                                        25
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service provider’s “knowledge” or “notice” of offending user content. (Compl. ¶ 71); see Zeran,

129 F.3d 327 (rejecting argument that CDA does not apply where defendant has “notice” or

“knowledge” of wrongful content); Marshall’s Locksmith, 925 F.3d at 1269; Armslist, 926

N.W.2d at 722–23 (rejecting consideration of defendant’s knowledge as “distinction without a

difference”).

        As Count II is directly based upon the availability of access to communications from

potentially fraudulent users, it fails under a straightforward application of Section 230(c)(1).

See, e.g., Dyroff, 934 F.3d at 1097-98 (immunizing website where harmful information was

developed by third parties).

                          b.       Count II Is Barred by Section 230(c)(2).

        Section 230(c)(2)(A) bars Count II for largely the same reasons it bars Count I. The FTC

alleges it was “unfair” to allow access to purportedly fraudulent communications to “recent

subscribers” while withholding those communications from subscribers.22 (See Compl. ¶¶ 34,

37, 71.) This alleged “unfairness” derives solely from the methodology of Match’s

implementation on its platform of its voluntary efforts to restrict user access to potentially

objectionable content.23 That is exactly the type of liability theory that Section 230(c)(2)(A) was

designed to foreclose—the imposition of liability as a collateral consequence of voluntary, good-

faith efforts to block or remove offending content. See Holomaxx, 783 F. Supp. 2d at 1104-05.

Again, the FTC’s claim is based on the conclusion that Match’s screening through its review

queue should have caused Match to withhold the offending message from recent subscribers, just



22
  Again, non-subscribers cannot read any messages, regardless of source.
23
  The Complaint does not allege that Match’s efforts to restrict subscriber access were not made in good faith; to
the contrary, Paragraph 33 states that “in fact, Defendant screens users that send communications through Match to
identify users that are likely to be perpetrating romance scams or other frauds.” Bad faith is not affirmatively
pleaded as required. See Holomaxx, 783 F. Supp. 2d at 1105 (N.D. Cal. 2011) (“[T]he appropriate question is
whether Holomaxx has ‘pled an absence of good faith.’”).
                                                        26
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as the same message would have been withheld from other subscribers. Had Match done no

screening and just allowed all messages to be delivered, it could not be liable. Thus, it cannot be

liable based upon its effort to screen. The CDA prohibits the imposition of liability for Match’s

undertaking to screen and remove potentially harmful content, and thus defeats Count II.

        D.       Count V Fails Because the FTC Fails to Allege a Violation of ROSCA as
                 Written.

        Finally, the Court should dismiss the FTC’s ROSCA claim (Count V) because, as a

matter of law, the FTC does not allege facts constituting a violation of the statute as written. The

Complaint refers to Match’s “billing and cancellation practices,” but the FTC complains only

that the online cancellation method is not “simple,” ignoring Match’s phone, fax, email, internet

chat, or standard mail methods of cancellation. (See Compl. ¶¶ 53–59.)

        ROSCA makes it unlawful for “any person to charge or attempt to charge any consumer

for any goods or services sold in a transaction effected on the Internet through a negative option

feature . . . unless the person . . . provides simple mechanisms for a consumer to stop

recurring charges.” 15 U.S.C. § 8403 (emphasis added). Nothing in the straightforward text of

the statute requires that any of the “simple [cancellation] mechanisms” be online. Id. Match has

five other cancellation mechanisms.24 The FTC has failed to plead facts that could support an

allegation that each of those five methods is not “simple.” (See Compl. ¶¶ 53–59, 84–85.) The

FTC’s “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.” Iqbal, 556 U.S. at 678; (Compl. ¶ 84). Accordingly, because the




24
  Match informed the FTC—as early as May 15, 2017, in response to the FTC’s interrogatories—that Match offers
cancellation methods that include “contacting customer service by voice, email, or online chat, or by writing to
Match’s physical address.”
                                                       27
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FTC has failed to allege facts plausibly demonstrating that Match does not provide “simple

mechanisms” for cancellation, its ROSCA claim fails as a matter of law.25

                       IV.      CONCLUSION AND REQUESTED RELIEF

         The Complaint is fatally defective on several independent grounds, and should be

dismissed with prejudice because it attempts to impermissibly expand the FTC’s authority

outside its statutory mandate in several related ways.26

         First, as the Third Circuit and the Seventh Circuit have recently explained (in Shire and

Credit Bureau), the structure of the FTCA allows the FTC to rush to court under Section 13(b)

only for the narrow purpose of obtaining injunctive relief, not monetary relief, and only where

the FTC reasonably believes, based on well-pled factual allegations, that the defendant “is

violating, or is about to violate the law”—in other words, to enjoin ongoing or imminent future

conduct. The FTC has utterly failed to heed these legal standards here.

         Second, as here, where the FTC seeks to obtain monetary relief under Section 13(b) for

past conduct, the FTC must proceed within the strictures and confines of the statutory provisions

that authorize that relief, including by first pursuing an administrative action against the

defendant for the past conduct and then by demonstrating to a court that the defendant knew or

should have known that the accused conduct was “dishonest or fraudulent.”27 Again, the FTC

has failed to do so.

         Instead, the FTC has attempted to sidestep these important structural and procedural

requirements, which Congress intended as critical limitations on the FTC’s legitimate regulatory




25
   As Match will show if Count V somehow survives dismissal, its online cancellation process is indeed “simple.”
26
   As a threshold matter, the FTC sued Match Group, Inc.—a holding company—rather than Match Group, LLC,
which actually operates Match.com and should also be dismissed for this reason.
27
   See FTCA Section 5(b), 15 U.S.C. § 45(b) (authorizing administrative proceeding); FTCA Section 19, 15 U.S.C. §
57b (authorizing consumer redress action); 15 U.S.C. § 57b(a)(2); Shire, 917 F.3d at 155.
                                                       28
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power and cannot be ignored. The FTC essentially asks the Court to grant it powers not

authorized by Congress through an implied remedy, something that Supreme Court precedent

and multiple courts have recently held to be impermissible. And, even if the FTC had statutory

authority to bring any of these claims, which it does not, the CDA independently bars Counts I

and II. Finally, the FTC seeks to bring a ROSCA claim that, if allowed, would impermissibly

expand the unambiguous statutory text.

        For all of these reasons, Match respectfully requests that the Court dismiss Counts I–V

with prejudice, as well as grant it all other relief to which it is justly entitled. Match respectfully

requests oral argument pursuant to Local Rule 7.1(g).




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Dated: October 17, 2019                   Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was served in

compliance with the Federal Rules of Civil Procedure on October 17, 2019, on counsel of record

for this case through the ECF system.

                                                    /s David Sillers
                                                    David Sillers




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